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November 6, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Kadrey, et al v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC

Dear Magistrate Judge Hixson:

        Plaintiffs in the above-captioned action (“Plaintiffs”) and Defendant Meta Platforms, Inc.
(“Meta”) jointly submit this omnibus letter brief regarding Plaintiff’s outstanding disputes for
“existing written discovery.” See Dkt. No. 253. This brief is filed along with a stipulation asking
for the Court’s approval to combine Plaintiffs’ five separate discovery motions (“Issues 1-5”) into
one omnibus joint letter. As set forth below, Plaintiffs present their argument on each Issue,
followed by Meta’s responsive position on each such issue.


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        ISSUE #1: SEARCH TERMS, DATA SOURCES, AND PRODUCTION SIZE
                                           Plaintiffs’ Position
         Meta has produced only 20,000 or so documents to date, excluding training data, a number
that would have raised the specter of incompleteness and cherry picking even 15 years ago, to say
nothing of 2024 discovery about a commercially-focused AI department with hundreds of team
members. After significant follow-up, Plaintiffs learned for the first time just three weeks ago that
Meta has excluded many (if not most) centralized, relevant sources of information as off-limits.
In Meta’s view, standard, central systems—paradigmatic non-custodial sources—should be
treated as custodial and thus, to the extent used by any Meta employees other than the identified
custodians, simply left out. Specifically, during an October 16, 2024 meet-and-confer with Meta
regarding discovery deficiency letters (that Plaintiffs served on October 9), Meta acknowledged
that it only searched and produced work email and other non-custodial company data sources like
Workplace for its ten designated, self-selected document custodians—no other employees.1 Other
sources, such as WhatsApp, appear to have never been searched in a systematic manner at all.
Meta’s searches in response to Plaintiffs’ RFPs are deficient and must be supplemented.
I.      The Deficiencies With Meta’s Searching are Evidenced by Low Production Volumes
        for Its Limited Custodians
        Of the 10 custodians it originally self-selected, Meta produced thousands of documents
from some custodians, but very few documents from others despite their heavy involvement in the
technologies central to this action. For example, Meta produced 194 documents from Mike Clark
despite the fact that he is a Director of Product for Generative AI at Meta, was involved in Meta’s
anti-scraping efforts (i.e., Meta’s rules and policies surrounding what is (and what is not)
permissible for Meta to scrape from the web), and that Meta has deemed him sufficiently important
as to be the corporate designee for a plurality of the 30(b)(6) topics. Chaya Nayak Dep. Tr. at
187:5-188:15. Similarly, Meta produced only 335 documents for custodian Joelle Pineau (the
vice-president of AI Research at Meta), and only 274 documents from the custodial file of Chris
Marra (another Director of Product at Meta). Plaintiffs’ bases for believing there are more relevant
documents, in addition to reasonable inferences from the custodians’ job functions, is the
discrepancy between these numbers and other custodians such as Aurelien Rodriguez, for whom
9,503 documents have been produced.
        As required under the ESI Order, on September 19, 2024, Meta provided Plaintiffs with a
list of sources searched. Ex. A. That list, however, reveals glaring deficiencies. An obvious
example is WhatsApp. While Meta now alleges that it searched WhatsApp for the 15 custodians
and found a few hits, Dkt. No. 247 at 37, its September 19 list omits WhatsApp entirely. Plaintiffs
first received six WhatsApp messages for a single custodian, Ahmad Al-Dahle, which were
produced the night before his deposition. Plaintiffs then received another six WhatsApp messages
for Joelle Pineau on November 4, approximately 36 hours before her deposition. There has been
no explanation of why these WhatsApp messages first surfaced right before each custodian’s
depositions. Another example is text messages. Meta’s witnesses have testified that they possess
company-issued cell phones that they use for work-related communications. Melanie Kambadur
Dep. Tr., 334:22-335:2. It appears these sources were never searched—a conclusion confirmed

1 Meta identified two RFPs for which it did not limit its search to its ten custodians’ email but refused to

identify whether there were any additional RFPs for which it did not similarly limit its searches.


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by Meta’s witnesses in deposition, who have testified that their phones and computers were never
imaged or taken by Meta for discovery in this case.
II.     The Court Should Order Meta to Identify and Search All Relevant Non-Custodial
        Sources
        Meta’s side-stepping of relevant document sources is inadequate for a large, sophisticated
entity. Meta knows that far more of its employees possess responsive information, and it cannot
ignore all of those documents merely by limiting its search of central repositories with known
sources of relevant information to a handful of custodians. 2 In addition to searching the files of
the identified custodians, Meta has an affirmative duty under the ESI Order to identify and produce
other known responsive documents that are housed by other employees or that are non-custodial
in nature. Dkt. No. 101 at 6 (“Specific, non-duplicative ESI that is identified by a party as
responsive to a discovery request shall not be withheld from review or production solely on the
grounds that it was not identified by . . . the protocols described in, or developed in accordance
with, this Order”); see also In re Facebook, Inc. Consumer Privacy User Profile Litig., 2021 WL
10282215, at *2 (N.D. Cal. Sept. 29, 2021) (“The ESI Protocol agreed to by the parties does not
limit Facebook’s discovery obligations to only the identified custodians.”). Meta’s non-custodial
sources almost certainly contain a substantial volume of responsive documents that were never
searched, collected, or produced. Meta apparently searched these non-custodial sources for
communications involving just its ten (and now 15) document custodians, Dkt. No. 247 at 37, but
ignored the fact that hundreds of other employees invariably sent emails, communicated using
Workplace, saved files to Workplace, and sent WhatsApp messages that are responsive to many
of Plaintiffs’ RFPs. p
III.    The Court Should Also Require Prompt Disclosure of Search Terms for Meta’s
        Custodians
        As related to both previous sections, Meta has not yet divulged the (likely narrow) search
terms that it used to search the files of any of its document custodians. Disclosure of search terms,
in addition to being required by the ESI Order, is a fundamental feature of discovery that usually
occurs voluntarily. United Ass’n of Journeyman & Apprentices of the Plumbing & Pipe Fitting
Indus., Underground Util./landscape Loc. Union No. 355 v. Maniglia Landscape, Inc., 2019 WL


2 If the Court allows Meta to effectively leave out non-custodial sources, then Plaintiffs respectfully request

that the Court order Meta to add the following 12 custodians: Brian Gamido (assigned task of reaching out
to content owners to discuss potential licensing opportunities); Elisa Garcia Anzano (assigned task of
reaching out to content owners to discuss potential licensing opportunities); Xavier Martinet (research
engineer at FAIR with knowledge of books in Meta’s training datasets); Guillame Lample (former research
scientist at FAIR with knowledge of books in Meta’s training datasets); Chris Cox (knowledge of and
decisionmaker on licensing and LLM priorities); Moya Chen (research engineer at FAIR with knowledge
of downloading and processing of LibGen training datasets); Susan Zhang (knowledge of Meta’s
downloading and use of LibGen); Sy Choudhury (lead role in licensing strategy); Jacob Xu (stated Meta’s
took Books3 “for free”); Arun Rao (key LLM product manager responsible for integrating Llama into
Meta’s full suite of commercial products); Eugene Nho (data acquisition for GenAI training); and Thomas
Scialom (knowledge of Meta’s fear of playing catch up and “clean up” of “problematic data”). 27 total
custodians is minimal compared to other large Meta litigations. See In re Facebook, Inc. Consumer Privacy
User Profile Litig., 2021 WL 10282213, at *12 (N.D. Cal. Nov. 14, 2021) (Meta submission to special
master stating it produced over 500,000 documents from 81 custodians, plus non-custodial sources).


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7877821, at *2 (N.D. Cal. July 25, 2019) (“Parties exchange this sort of information as part of the
general discovery meet-and-confer process”); De Abadia-Peixoto v. U.S. Dep’t of Homeland Sec.,
2013 WL 4511925, at *4 (N.D. Cal. Aug. 23, 2013) (ordering defendant to disclose search
parameters and to meet and confer regarding their sufficiency).
IV.     Prayer for Relief
        Plaintiffs respectfully request that: (a) the Court order that non-custodial sources of
relevant information should be subject to reasonable and proportional searching (or alternatively,
that Meta expand its list of custodians) and (b) that Meta disclose its search terms. Plaintiffs
request that the Court (1) order that the parties exchange the search terms run and data sources
searched for all requests and all custodians, the resulting hit counts, and any non-custodial data
sources that were not searched but may contain relevant information, on November 13; (2) require
the parties to meet and confer by November 15 to discuss whether any additional search terms
need to be run or data sources searched; and (3) set a November 18 deadline for a joint letter brief
on any unresolved issues involving search terms and data sources.
V.      Plaintiffs’ Dispute Is Timely
        Finally, Plaintiffs’ dispute about Meta’s continuing search and production efforts continues
to be ripe, and there remains sufficient time during ongoing fact discovery for the Court to grant
meaningful relief. This motion is not an attempt to “redo all of Meta’s document productions[.]”
Dkt. No. 252 at 2.3 Meta is in the process of responding to new RFPs issued by Plaintiffs in
October, and it presumably will employ similar search methodologies to those used before.
Further, parties have an ongoing duty to supplement their responses to RFPs if they learn their
prior productions were incomplete in some material respect. Fed. R. Civ. P. 26(e)(1). It is not
uncommon for courts to direct parties to search new data sources near the end of fact discovery if
those data sources should have been searched much sooner. Owen v. Hyundai Motor Am., 344
F.R.D. 531, 535 (E.D. Cal. 2023) (compelling defendant to run new search terms and identify
responsive data sources in dispute raised at end of fact discovery period).
                                          Defendants’ Position
        Plaintiffs’ motion loses sight of the lone copyright claim at issue in this case, what the
parties need to brief summary judgment on fair use, and the full year of discovery already
conducted. Just 35 days remain in fact discovery, and despite the Court’s admonitions last week
that “[w]e’re not going to redo all of Meta’s document productions at this point” and that “[i]f
Plaintiffs had a problem with Meta’s search terms, date ranges, metadata collection, and so on,
those issues should have been raised a long time ago,” ECF No. 252 at 2, Plaintiffs in “Issue #1”
seek to entirely redo Meta’s document production and to rewrite the ESI Order long ago agreed
to by the Parties and entered by the Court that has governed discovery throughout this case.
Plaintiffs’ belated complaints are not only untimely and meritless, but it would eviscerate Rule 26
and the negotiated, Court-approved limitations on custodial searches for ESI (which the parties
agreed would be limited to 10 custodians per side      selected by the producing party), ECF No.

3 Even for Meta’s 10 initial custodians, Plaintiffs have raised with Meta the problems with its “search terms,

date ranges, metadata collection, and so on.” Dkt. No. 252 at 2. Meta should not be permitted to get away
with its failure to comply with basic discovery obligations in a landmark case just because those issues
could have been raised earlier in discovery, before Plaintiffs reconstituted their legal team at Judge
Chhabria’s direction.


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101 at 8, and which was expanded to 15 Meta custodians by the Court one month ago, ECF No.
212). Not only is there no need for the massive expansion of discovery that Plaintiffs now seek,
but if Plaintiffs’ requested relief is granted, it would result in a wholesale redo of Meta’s document
production, requiring search, collection, review, and production of ESI from untold number          of
custodians, far in excess of anything contemplated throughout this case and vastly disproportionate
to the needs of the case. Such a dramatic expansion of discovery at this late stage of the case would
make completing discovery by December 13 impossible. For all these reasons, Plaintiffs’ motion
regarding “Issue #1” should be denied
       Plaintiffs premise their demand for a massive expansion of discovery on the
unsubstantiated speculation that Meta’s document production is not “big” enough, assuming一
incorrectly—that there must be more documents addressing the narrow set of issues at play in this
case.4 Tellingly, Plaintiffs do not identify a single RFP with a deficient response or any category
of documents          allegedly missing in Meta’s production. To be clear, Meta’s document
productions to date, both custodial and non-custodial, were based on the RFPs served by Plaintiffs.
Meta has produced the documents it said it would produce in response to those RFPs, and it was
not until October 9th that Plaintiffs raised for the first time any issue with Meta’s responses to
those RFPs. As Plaintiffs also acknowledge, Meta will be making additional productions in
response to Plaintiffs’ 5th and 6th sets of RFPs (served on Oct. 9 and Oct. 18) and for the 5
custodians newly added per Court order. Meta anticipates producing thousands more custodial
and non-custodial documents in response to those document requests, including several thousand
being produced today.
        Not only is Plaintiffs’ motion premised on speculation rather than evidence of any alleged
failure by Meta, but the ESI Order does not support and in fact contradicts Plaintiffs’ demands.
The only provision of the ESI Order cited by Plaintiffs is paragraph 7.d, which provides that
“[s]pecific, non-duplicate ESI that is identified by a party as responsive to a discovery request shall
not be withheld from review or production solely on the grounds that it was not identified by (or
is subject to an exclusion set forth in) the [ESI Order protocols.” ECF No. 101 at 12. But this
provision is a narrow exception to the ESI        order’s custodial search and production protocols.
Indeed, paragraph 7.d simply requires the parties to review and produce specific, non-duplicative
and responsive ESI that happens to be identified outside of the ESI order’s custodial search and
production protocols. Nothing in paragraph 7.d obligates a party to conduct broad searches of
custodial ESI (such as emails and chats) across untold numbers of people—effectively eviscerating
the ESI Order’s clear directive that ESI discovery is governed by the specific custodial search and
production protocols that Meta has been following. Plaintiffs’ interpretation of this narrow
exception in the ESI Order would render the entire meet and confer process mandated by Federal
Rule 26(f) as implemented by the ESI protocol meaningless.
      With respect to WhatsApp messages in particular, Plaintiffs’ complaints are similarly
unfounded. Meta inquired about its custodians’ use of various platforms, including WhatsApp,

4 Meta has also produced over 15 terabytes of data, and made multiple gigabytes of source code

available for inspection. Moreover, Plaintiffs also miscount the number of documents associated
with Ms. Pineau, who has 355 custodial documents produced. And Chris Marra was not an
identified custodian (a fact Plaintiffs fail to acknowledge), and the inclusion of his documents
demonstrates that Meta in fact searched beyond its 10 original custodians for responsive
documents.


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for work-related communications, and when a custodian identified WhatsApp as such a platform,
Meta conducted searches of that application. Only a handful of the 15 ESI custodians (e.g., Mr.
Al-Dahle, Ms. Pineau) used WhatsApp for a limited number of work-related communications, and
Meta collected and produced those responsive WhatsApp messages. Yet Plaintiffs are demanding
that Meta conduct searches of employees’ personal WhatsApp messages for employees that have
confirmed they do not use WhatsApp for work (e.g., Chaya Nayak and Sergey Edunov, who
testified under oath they do not use WhatsApp for work). Plaintiffs cite no authority for such an
unnecessary intrusion into employees’ personal, non-work related communications. 5 See Int'l
Longshore & Warehouse Union v. ICTSI, 2018 WL 6305665 *3 (D. Ore. Dec. 3, 2018) (denying
motion to compel personal email account information from custodians because the moving party
did not show more than a de minimis use of personal email for business) (citing Matthew Enter.,
Inc. v. Chrysler Grp. LLC, 2015 WL 8482256, at *3 (N.D. Cal. Dec. 10, 2015) (denying motion
to compel production of employees’ personal email accounts and noting that the moving party had
not identified any legal authority under which the employer could force its employees to turn over
email from personal accounts)).
        Implicitly recognizing that the ESI Order does not support their request for a massive
expansion of custodial discovery, Plaintiffs seek to frame their request as seeking “non-custodial”
or “centralized” data. To be clear, Plaintiffs are seeking broad-based searches of data sources that
would be the subject of a custodial ESI search under the ESI Order, specifically email and
Workplace chat messages. Moreover, Meta has already disclosed and addressed the “additional
data sources with potentially responsive information” under the ESI order. ECF No. 101 at 6(c).
As identified in Meta’s September 19, 2024 disclosure of data sources, Meta has already reviewed
and produced from a comprehensive list of sources including E-mail, Workplace Chat, Contracts,
Google Suite, Github, S3 (AWS servers), Workplace Groups 6 and others. These include sources
the Plaintiff might also classify as “non-custodial” or “centralized” data sources, such as relevant
public websites, Google Share drives (part of the Google Suite) and Github. Consistent with the
parties agreement in the ESI Order, the Producing Party (Meta) was best situated to determine the
most appropriate method(s) to search, collect, cull and produce discovery from all of the data
sources Meta identified. ECF No. 101 at paragraph 7.



5 Plaintiffs also complain that Meta has not “taken” the phones or computers of employees for

“imaging.” This misunderstands how employees work and store information at Meta and also
misrepresents Meta’s discovery obligations. More specifically, there is no need to image every
custodian’s phone or computer in this matter because relevant sources are accessible through other
methods. For example, Meta employees’ Workplace chat messages (whether sent by phone or
computer) are archived into Proofpoint, where Meta can collect those messages directly. Also,
Meta’s custodial interviews inquired about custodians’ use of other platforms (if any) to conduct
their work, and if a custodian had identified potentially responsive information uniquely stored on
their phone or computer, Meta would have collected it.
6 Workplace is a communications platform that securely combines chat, video, groups, and users’

intranet. It is generally used to collaborate and share knowledge through notes and posts.
Workplace contains the functions Groups and Chat where Groups allow users to comment and
create posts while Chat is used as the internal instant messaging system. Workplace is internally
developed and its data is stored on premises in Meta’s internal databases.


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         Plaintiffs are instead asking the Court to order Meta five weeks before the close of fact
discovery to extensively search additional custodial data sources like emails and Workplace chat
communications of non-custodians, imposing massive ESI burdens far beyond those agreed to by
the ESI Order, as previously expanded by the Court’s recent order increasing the number of
custodians from 10 to 15 per side. Plaintiffs have no support for this approach, which conflicts
with the ESI Order. In re Facebook, Inc. Consumer Privacy User Profile Litig. does not support
the relief they seek. There, the Court simply determined that an ESI Order with different language
than the ESI Order entered in this case did not prevent production of physical notebooks. In re
Facebook, Inc. Consumer Privacy User Profile Litig., 2021 WL 10282215, at *2 (N.D. Cal. Sept.
29, 2021). That authority has no bearing here.
        Plaintiffs’ alternative request for 12 additional custodians (supra FN2) should also be
rejected. The time for seeking new custodians passed long ago. If Plaintiffs needed more than the
5 extra custodians the Court already allowed, they should have asked for them when they briefed
the issue 5 weeks ago. ECF No. 190 at 2. Given the burdens and time necessary to collect, search,
review and produce custodial documents, those efforts will run long past the Court’s fact discovery
deadline. See ECF No. 190-8 at 2 (explaining time involved in custodial collection and production
efforts); ECF 196 at 2 (recognizing that “[a]dding five document custodians is a big change, not a
small change, to the scope of Meta’s document production obligations in this case”).
        Finally, with respect to search terms, even though the Court has already said that ““[i]f
Plaintiffs had a problem with Meta’s search terms . . . [it] should have been raised a long time
ago,” to moot this issue Meta is prepared to mutually exchange its search terms and hit counts with
Plaintiff next week and will work with Plaintiff to finalize the timing of that exchange. As Meta
has already told Plaintiffs, there is no dispute about the exchange of such terms. 7 The Court should
deny the requested relief as to Issue #1.
                                         Plaintiffs’ Reply
         Meta’s response does not address the key issue: Meta searched non-custodial databases for
their custodians only. Data sources like company email servers, Meta-owned WhatsApp, and
company tool Workplace, are not custodial data sources when the documents are centrally archived
rather than housed on employees’ devices. Meta effectively says as much, noting that there was
no need to image its custodians’ devices because all the same data was available through non-
custodial sources, including a repository of centrally archived Workplace Chat messages for all
employees. Defs’ n.5; In re Facebook, Inc. Consumer Priv. User Profile Litig., 2021 WL
10282172, at *4 (N.D. Cal. Oct. 11, 2021) (noting a wide variety of non-custodial sources used at
Facebook). If Meta had such ready access to this data for its employees, it should have run its
search terms over the full data sources (or at least sources pertaining to the AI Department), not
just for the 15 custodians.
       This is why Meta’s document productions are so small. Meta may be producing a few
thousand more documents today, but even 25,000 documents is miniscule in a case involving a

7 Among other unnecessary and impractical deadlines, Plaintiffs ask the Court to order additional

letter briefing on search terms and data sources on November 18 th. Such briefing is unnecessary
and untimely under the Court’s prior admonition that issues with Meta’s search terms “should have
been raised a long time ago.” Moreover, Meta long ago disclosed its data sources as discussed
above.


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thousand-person AI department that has been working on AI and LLMs for many years. These
problems are ongoing: Meta apparently will continue to search non-custodial sources solely for its
15 custodians in response to Plaintiffs’ October RFPs absent a Court order to just run the same
search terms more broadly. Further, Meta argues Plaintiffs never identified any specific RFPs
receiving a deficient response. The problem is that Meta did not identify which produced
documents respond to which RFPs.
        Plaintiffs are glad Meta now states its willingness to exchange search terms. That position
is in stark contrast to the silent approach taken by Meta over the past month in response to
Plaintiffs’ repeated requests for this exchange to take place. Because there is now no dispute that
the parties should exchange search terms and hit counts, Plaintiffs ask the Court to order the
exchange take place and set a deadline for the parties to raise any disputes regarding those search
terms.
                           Defendant’s Response to Plaintiffs’ Reply
        Plaintiffs claim that Meta “searched non-custodial databases for their custodians only,” but
this makes no sense. “Non-custodial databases” are centralized repositories of information not
created or controlled by any one custodian, so it doesn’t make sense to say that Meta conducted
the searches of these databases for the custodians only. To the contrary, Meta collected documents
from a wide variety of locations that are non-custodial, and spoke with many individuals in
addition to its custodians to try to locate responsive documents. This is demonstrated by Meta’s
collection of Workplace posts, source code and datasets - data from quintessential “non-custodial”
sources that span terabytes of data. Plaintiffs’ complaint lacks any basis as they are unable to point
to a single deficient response to Plaintiffs’ RFP, focusing instead on imagined deficiencies based
on the number of documents. Plaintiffs do not even attempt to justify their evisceration of the ESI
order’s carefully negotiated scope for the search, collection and production of ESI from custodians.
Plaintiffs’ reply makes clear that they are asking the Court to order Meta to search email and chat
messages for at least 1000 custodians. Plaintiffs provide no justification for such an extreme
expansion of discovery in this matter at such a late date.
        As to the exchange of search terms, Meta has long told Plaintiffs that it was prepared to do
a mutual exchange. Indeed, as recently as November 4, counsel wrote Plaintiffs “We remain, as
previously stated, willing to agree to a mutually agreeable date for the exchange of search terms
and hit counts … only one plaintiff has provided search terms (without a hit report). Please let us
know when all Plaintiffs will be ready … We are prepared to do the same.” Plaintiffs sent a
follow up, but with the instant flurry of motions today, the parties have not yet agreed upon
an exchange date. Meta remains ready and willing to provide this information. However, there
is no basis to set a deadline to “dispute” those search terms this late in discovery, as any concerns
regarding the size and scope of Meta’s production in response to RFPs served more than six
months ago should have been raised long ago. This is particularly the case here, given the
timeframe left in discovery and Meta’s continuing review of five new custodians and additional
documents from custodial and non-custodial sources in response to Plaintiffs’ more recent sets
of Requests
which         for Production,
       no dispute   is yet ripe. for




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               ISSUE #2: DISCOVERY RELATED TO LLAMA 4 PROGRAM
                                          Plaintiffs’ Position
        Since early 2023, Meta has released new large language models (“LLMs”) at frequent
intervals. Meta’s original LLaMA model (“Llama 1”) was released on February 24, 2023,
followed by Llama 2 on July 18, 2023; Llama 3 on April 18, 2024; Llama 3.1 on July 23, 2024;
and Llama 3.2 on September 25, 2024. Meta is currently in the process of developing Llama 4
(the subject of this motion) and is scheduled to release this next iteration sometime in early 2025.
         Throughout discovery in this case, Meta implicitly has conceded that successor models are
relevant to Plaintiffs’ claims even though Llama 1 was the operative version at the time Plaintiffs
filed their original complaint,8 and recently agreed that its corporate designee witnesses will also
address Llama 4. This all makes sense: Models build on each other, and Meta’s work on its
previous models has informed its Llama 4 data strategies. Llama 4 is discussed in many of Meta’s
discovery materials, including key documents in this case. This evidence already makes clear that
Meta’s development of Llama 4—motivated by its desire to launch a best-in-class LLM that could
beat OpenAI’s GPT-4 and advance Meta’s entire commercial portfolio—has continued to involve
copyright infringement. Yet, Meta refuses to run searches for responsive documents involving
Llama 4 and has not made available for inspection a complete set of source code and related data
for all phases of its LLM training and implementation, including for Llama 4. Put simply, Llama
4 is relevant to this case under Rule 26 and is within the scope of permissible discovery.
I.      Llama 4 Is Relevant to Plaintiffs’ Allegations of Infringement.
        Parties are entitled to discover any nonprivileged information that is reasonably calculated
to lead to the discovery of admissible evidence. Fed R. Civ. P. 26(b)(1). The relevance standard
under Rule 26 is broad. Shoen v. Shoen, 5 F.3d 1289, 1292 (9th Cir. 1993).
        A.      Llama 4 Infringes Plaintiffs’ Copyrights Through the Same Mechanisms as
                Prior Llama Versions.
        Llama 4 and its related documents are plainly relevant and discoverable under Rule 26.
For one, Meta’s use of “shadow libraries”—or online repositories comprising mass pirated
copyrighted works—has continued and if anything increased over time. This evidence bears
directly on Plaintiffs’ claims in a few ways. First, it demonstrates ongoing willful infringement.
Second, it shows that books datasets have been persistently significant because they comprise
“high quality” data. This evidence also makes clear the commercial nature of Meta’s investments
in Generative AI through its Llama models, with each model helping Meta get closer to realizing
its commercial aspirations.



8 Plaintiffs defined the proposed class to encompass all versions of the Llama language models.   Dkt. No.
133 at ¶ 83 (defining the proposed class in this case as “All persons or entities domiciled in the United
States that own a United States copyright in any work that was used as training data for any version of the
Llama language models between July 7, 2020 and the present.”); see also Farnsworth v. Meta Platforms,
Inc., No. 3:24-cv-06893, Dkt. No. 1, at ¶ 55 (N.D. Cal. Oct. 1, 2024) (defining class to encompass owners
of copyrighted materials used in current training for even unreleased models, and referring to books that
“were or are used by Meta in the process of LLM training, research, or development, including but not
limited to the training and development of its Llama models”).


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         So, which of Meta’s conflicting positions is to be believed? Given how few produced
documents mention Llama 4 (or 5), Meta’s carefully worded claim that its still-undisclosed “search
terms … did encompass documents about Llama 4” is not credible. Indeed, what that closely-
lawyered phrasing probably means is that a few search terms picked up a few documents that
mention Llama 4; but Meta notably does not say it specifically searched for Llama 4 (and 5)
documents in response to Plaintiffs’ discovery requests that sought relevant information regarding
all Llama models, including Llama 4 and 5. In any event, given that Meta now drops any objection
to searching for these documents, the Court should enter the relief requested as it is now undisputed
that Plaintiffs are entitled to Llama 4 and 5 documents. The same goes for Llama 4 source code—
Meta now says it will make it available. So it is now also undisputed that Plaintiffs are entitled to
have Meta make available the source code for all Llama models for all phases of the LLM process
as it exists in the ordinary course at Meta, and the Court should enter the relief requested.
                           Defendant’s Response to Plaintiffs’ Reply
         Plaintiffs articulate no proportional basis for demanding that Meta search for and produce
all things relating to unreleased LLMs, including Llama 4. There is nothing about Meta’s efforts
with respect to Llama 4 that make any fact in dispute more or less likely. Notably, Plaintiffs’ reply
fails to point to any claim in their Complaint that would relate to a future LLM that is not released.
They cite no case law establishing the relevance of future, in-development models to a claim of
copyright infringement based on the training of completed and publicly released models.
Moreover, any perceived lack of information is more reflective of the status of Llama 4’s
development than any perceived discovery limits that were not put in place by Meta. The bottom
line, as Plaintiffs acknowledge, is that Llama 4 and potential future iterations of Llama models are
not complete, such that a fishing expedition into highly sensitive competitive information relating
to future LLM models is not relevant or proportionate to the needs of this case.
        Separately, Meta’s willingness to provide documents and code commensurate with the
current status of training Llama 4 (and not any or all source code for unreleased models, regardless
of the relevance of the code to the issues in this case) should and cannot be construed as a
concession regarding the relevance or proportionality of Plaintiffs’ demands for more. Thus, there
is nothing for the Court to order and Plaintiffs’ request should be denied.




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              ISSUE #3: RESPONSES TO PLAINTIFFS’ INTERROGATORIES
                                           Plaintiffs’ Position
        Plaintiffs have issued three sets of interrogatories to Meta—on December 27, 2023 (Set 1,
Nos. 1-15), on August 29, 2024 (Set 2, Nos. 16-17), and on October 10, 2024 (Set 3, Nos. 19-48).
(“Interrogatories” or “ROGs”).10 Ex. B. Meta initially refused to respond to Interrogatory Nos.
13-15, arguing that some contained subparts and thus counted towards the presumptive limit of 25
interrogatories. Ex. B. Meta subsequently agreed on October 21 to supplement its responses to
Interrogatory Nos. 13 and 14 but maintained its refusal to answer Interrogatory No. 15, which
seeks an explanation of the role of certain identified persons in developing and marketing Llama.
Yet, Meta also answered Interrogatory Nos. 16 and 17 in Set 2 (on September 30), and Meta served
its own set of interrogatories exceeding the presumptive limit eight days after Plaintiffs served
their Set 3. Meta cannot unilaterally decide which interrogatories to answer and has no proper
basis to withhold additional responses.
  I.    Meta Must Answer Interrogatory No. 15.
        Meta’s argument that it need not respond to Interrogatory No. 15 because of its subparts is
misplaced. The rule regarding impermissible subparts in interrogatories applies only to discrete
subparts that ask about separate and distinct subjects; subparts count as one interrogatory so long
as they are logically or factually related. Stamps.Com v. Endicia, 2009 WL 2576371, at *3 (C.D.
Cal. May 21, 2009) (“[C]ourts generally agree that ‘interrogatory subparts are to be counted as one
interrogatory . . . if they are logically or factually subsumed within and necessarily related to the
primary question.”) (Trevino v. ACB Am., Inc., 232 F.R.D. 612, 614 (N.D. Cal. 2006); Synopsys v.
ATopTech, 319 F.R.D. 293, 297 (N.D. Cal. 2016) (“Subparts asking for facts, documents, and
witnesses relating to a primary contention or allegation are logically or factually related, and thus
should be construed as subsumed in the primary question.”). Each Set 1 interrogatory (Nos. 1-15)
properly addresses a single, discrete (and relevant) topic. 11 For example, the disputed
Interrogatory No. 15 asks for an explanation of the role that 15 enumerated Meta employees played
in developing its LLMs. Under Defendants’ view, that interrogatory alone would constitute 60
percent of the total interrogatories available to Plaintiffs under Rule 33. This cannot be right.
    Regardless of whether subparts constitute separate interrogatories, Meta waived its objection
to Interrogatory No. 15 when it later answered Plaintiffs’ Interrogatory Nos. 16-17 in a subsequent


10 Plaintiffs served a total of 47 interrogatories, having inadvertently skipped No. 18.

11 Those topics are: (ROG 1) nature and source of data used to train Llama, (ROG 2) process and persons

responsible for modifying Llama, (ROG 3) Reinforcement Learning with Human Feedback (RLHF) process
for Llama, (ROG 4) pre-release assessment of risk, safety, and alignment of Llama, (ROG 5) agreements
showing a financial interest of Meta insiders with respect to Llama training data, (ROG 6) identification of
Meta’s directors, officers, and board members, (ROG 7) employees responsible for development of Llama
and ethical or legal concerns, (ROG 8) software, databases, or services used to develop Llama, (ROG 9)
contact information for potential witnesses identified in ROGs, (ROG 10) identification of persons from
whom Meta licensed or purchased training data, (ROG 11) identification of individuals/entities who own
stock in Meta above 5%, (ROG 12) identification of individuals who planned or developed Llama, (ROG
13) identification of Llama training datasets and the policies followed to include or exclude datasets, (ROG
14) identification of individuals granted or denied access to Llama 1, and (ROG 15) an explanation of the
role of identified persons in developing and marketing Llama.


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set. Ex. B. Meta reiterated its objections to Interrogatory Nos. 16 and 17 as exceeding Rule 33’s
limit, but Meta then proceeded to answer them. If Meta wanted to preserve the numerosity
objection, it needed to apply its objection uniformly. What Meta cannot do is respond to some of
the implicated interrogatories out-of-order while refusing to respond to other, earlier ones. See
Capacchione v. Charlotte-Mecklenburg Schools, 182 F.R.D. 486 492 n.4 (W.D. N.C. 1998)
(explaining that the recourse for a party seeking to preserve “objections to supernumerary
interrogatories is to answer up to the numerical limit and object to the remainder without
answering.”).
 II.   Meta Must Supplement its Answer to Interrogatory No. 17.
        One of the nonconsecutive interrogatories that Meta did choose to answer—Interrogatory
No. 17—involves a potential advice-of-counsel defense. Meta answered the question by stating it
“does not presently intend to assert the advice of counsel defense.” Id. Meta should be required
to provide a definitive “yes” or “no” answer.
        When a defendant asserts reliance on the advice of counsel as a defense, attorney-client
privilege is waived over all communications with counsel related to that advice. See, e.g., SNK
Corp. of Am. V. Atlus Dream Entertainment Co., Ltd., 188 F.R.D. 566, 571 (N.D. Cal. 1999)
(“courts have found the injection of the advice of counsel to waive the attorney-client privilege as
to communications and documents relating to the advice.”) (cleaned up). With minimal time
remaining in the fact discovery period, Plaintiffs need to definitively know now—not sometime in
the future—whether Meta may assert this defense. Meta’s attempt to leave the door open for an
advice of counsel defense down the road is improper and is the type of tactic that could lead to “a
train wreck at the close of fact discovery,” Dkt. No. 231 at 3. Meta therefore needs to supplement
its answer to Interrogatory No. 17 to state definitively whether it is asserting this defense.
III.   Plaintiffs Request Leave to Issue Additional Interrogatories and an Order Requiring
       Meta to Answer Them.
         Meta also refuses to respond to any of Plaintiffs’ interrogatories in Set 3 (Nos. 18-43).
First, this discovery was timely. Plaintiffs were diligent in serving Set 3 in response to Judge
Chhabria’s 60-day extension of discovery, ordered on October 4, 2024. Dkt. 211. Plaintiffs served
Set 3 less than a week later, on October 10, over two months before the close of discovery, and
Meta’s deadline to respond is November 11. Judge Chhabria’s 10-week extension of discovery
on October 4 was for all purposes, without restrictions on either party seeking additional discovery
or issuing new requests. Dkt. 211. Further, discovery is not limited to Meta’s preferred fair use
defense, and the Court should not allow Meta to limit Plaintiffs’ ability to obtain discovery. The
interrogatories in Set 3 go to the core of the issues in this case. Plaintiffs seek information
concerning, for example: Meta’s decision-making in choosing to use shadow datasets, which is
relevant to infringement (Nos. 21-23, 34, 35, 40-46, 48); the financial benefits Meta has received
or anticipates receiving from use and distribution of Llama, which is relevant to Plaintiffs’
damages (Nos. 19, 20, 28, 29, 30, 32); and licenses that Meta sought or considered with respect to
copyrighted works, which is relevant to both infringement and damages (Nos. 22, 24, 31).
       Meta separately objects to these interrogatories on numerosity grounds. Rule 33(a) grants
the Court discretion to increase the number of interrogatories under a “good cause” standard.
Courts “will allow additional interrogatories,” especially in complex cases, “as long as they are
not ‘unreasonable or unduly burdensome or expensive, given the needs of the case, the discovery
already had in the case, the amount in controversy, and the importance of the issues at stake in the


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litigation.’” E.g., Protective Optics v. Panoptx, 2007 WL 963972, at *2 (N.D. Cal. Mar. 30, 2007)
(quoting Fed. R. Civ. P. 26(b)(2)(iii)). With Set 3, Plaintiffs served 22 interrogatories in excess of
the presumptive limit of 25 with well over two months remaining before the end of discovery.
Plaintiffs repeatedly sought Meta’s informal agreement to a commensurate increase in the number
of interrogatories, something “reasonable parties should [do] . . . in a complex case,” instead of
“engag[ing] in motion practice.” Protective Optics, 2007 WL 963972, at *2. Prior stipulated
filings in this case put Meta on clear notice that more than 25 interrogatories would be served. In
the most recent Joint Case Management Statement, Plaintiffs expressly stated that they would
“require expansion of the limits on the number of . . . interrogatories.” Dkt. No. 71 at 10. 12
        While Meta seeks to restrict the number of interrogatories all Plaintiffs can serve on Meta,
Meta itself has served 28 interrogatories on each Plaintiff. In the Joint Case Management
Statement, the parties “agree[d] that the applicable [discovery] limits shall apply to each side, as
opposed to each party.” Dkt. No. 71 at 10. Meta therefore has served well over 200 interrogatories
even though its “side” was limited to 25 total. And even if Meta’s interrogatory count is measured
plaintiff-by-plaintiff, Meta still served too many—28 per plaintiff, not the maximum of 25. Tacitly
acknowledging this, Meta’s most recent interrogatories include a statement anticipating answers
to the extra three questions “if the parties reach agreement on, and the Court orders” additional
interrogatories. Accordingly, there can be no prejudice to Meta (or Plaintiffs) in ordering the
parties to answer each other’s previously-issued interrogatories.
                                          Defendants’ Position

        Plaintiffs mischaracterize Meta’s position (both past and present) regarding several
interrogatories in order to manufacture another dispute.

  I.     Meta Has Already Agreed to Respond to Interrogatory No. 15

       Following the parties’ October 16 meet and confer, and to avoid motion practice, Meta
expressly agreed to substantively respond to Interrogatory No. 15. Ex. 1 at 5-6. It will do so by
November 19th. The issue is therefore moot. Plaintiffs’ motion practice over something that Meta
has repeatedly told Plaintiffs it would do is a waste of time for the parties and the Court.

        To be clear, Meta did not previously decline to respond to Interrogatory No. 15 on the
ground that it consists of multiple subparts. Meta declined to respond to the Interrogatory on the
ground that, because several of Plaintiffs’ prior interrogatories contained distinct subparts,
Plaintiffs had exceeded the 25 interrogatory limit by no later than Interrogatory No. 13. Meta


12 Additionally, Plaintiff Farnsworth, only consolidated into this case on October 18, had issued zero

interrogatories before Plaintiffs’ third set. Interrogatory Nos. 18-43 are therefore within the bounds of Rule
33 for Plaintiff Farnsworth.
Meta served 25 additional interrogatories on Plaintiff Farnsworth the day he was added to the case. This
was in addition to the multiple hundreds of interrogatories that Meta cumulatively served on Plaintiffs.
Plaintiff Farnsworth has the same right as Meta to serve and seek responses to interrogatories before the
December 13, 2024 discovery cut-off. Indeed, in the normal course, consolidation does not “completely
merg[e] the constituent cases into one, but instead [] enable[es] more efficient case management while
preserving the distinct identities of the cases and the rights of the separate parties in them.” Hall v. Hall,
584 U.S. 59, 60 (2018).


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informed Plaintiffs in February that they had violated Fed. R. Civ. P. 33(a)(1), as Courts in this
District hold that “interrogatory subparts are to be counted as one interrogatory ... if they are
logically or factually subsumed within and necessarily related to the primary question.” Synopsys,
Inc. v. ATopTech, Inc, 319 F.R.D. 293, 294 (N.D. Cal. 2016) (quoting Safeco of Am. v. Rawstron,
181 F.R.D. 441, 445 (C.D. Cal. 1998)).13 Nevertheless, in the spirit of moving discovery forward
and reducing the disputes being brought to this Court, Meta agreed to supplement Interrogatory
No. 15. This dispute is moot and should be denied.

 II.   Meta Has Already Agreed to Supplement its Response to Interrogatory No. 17

        Regarding Interrogatory No. 17, here too, Plaintiffs are litigating an issue that has already
been resolved. Again,          after the October 16 meet and confer, Meta agreed that it would
supplement its response to Interrogatory No. 17 to remove any perceived ambiguity or
qualification regarding its response that it is not relying on the advice of counsel defense. Meta
will supplement this interrogatory by     November 19 . This issue is and has been moot.

III.   Plaintiffs’ Additional Interrogatories are Untimely and Unwarranted

        Plaintiffs’ demand that Meta respond to 23 new, additional interrogatories, which it served
several weeks ago without leave of Court, should be denied. As background, on October 9,
Plaintiffs requested Meta’s consent to serve an additional 23 interrogatories and advised that
“[a]bsent such agreement, Plaintiffs will raise this request with Judge Hixson.” Before Meta could
consider Plaintiffs’ request, let alone respond to it, Plaintiffs served Interrogatories 19 through 48
the next day. And did so without raising the issue with this Court. Meta disagrees that Plaintiffs
should have any additional interrogatories, but in an effort to avoid burdening the Court, on
October 21,      Meta proposed that the parties stipulate to an additional five interrogatories for a
total of 30 interrogatories per side. Plaintiffs rejected this proposal and offered no alternative.
Again, Plaintiff did not seek relief from the Court.

        Plaintiffs now seek to compel Meta to respond to Interrogatories 26 through 48, but they
had no arguable authority to serve them in the first place. Indeed, it is black letter law that a party
“may not serve additional interrogatories without [an] agreement or leave of the Court.”
Jovanovich v. Redden Marine Supply, Inc., 2011 WL 4459171, at *3 (W.D.Wash. Sept.26, 2011);
FormFactor, Inc v. Micro-Probe, Inc., No. C-10-03095 PJH JCS, 2012 WL 1575093, at *8 (N.D.
Cal. May 3, 2012) (noting that party “had no authority” to serve additional interrogatories absent
an agreement or leave of the court). Because Plaintiffs failed to seek leave to serve Interrogatories
26 through 48 prior to the October 18, 2024 deadline to serve additional discovery (ECF 238) their
request to enlarge their number of interrogatories is also untimely.

       Above, Plaintiffs point to their representation to the Court back in January (ECF 71)
wherein they previewed that they might seek an expansion of the interrogatory limits, as notice
to Meta that they would do so. Even if this did consist of notice, which it did not, it demonstrates

13 To illustrate the overbreadth of Plaintiffs’ interrogatories, take for example Interrogatory No. 7

(with discrete subparts (b)-(f) counting as at least four) or Interrogatory 13 (with discrete subparts
(a)-(e) counting as at least three.


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that Plaintiffs had months to seek an expansion of interrogatory limit , but did not bother to do
so. They are now raising the issue 10 months later and just 5 weeks before the fact discovery
cutoff.

        Plaintiffs also attempt to use Plaintiff Farnsworth as an outlet for additional interrogatories,
but even though he just joined the litigation, he is bound by the same rules the parties stipulated to
in January, i.e., allotting interrogatories per side as opposed to per party. 14 ECF No. 71 at 9 (“The
Parties agree that the applicable limits [in the FRCP] shall apply to each side, as opposed to each
party.”)

        Plaintiffs’ request to propound additional interrogatories beyond Interrogatory 25 should
also be denied as unwarranted. “Leave to serve additional interrogatories may be granted to the
extent consistent with Rule 26(b)(2).” Fed. R. Civ. P. 33(a)(1). However, courts must decline
enlarging the interrogatory limit if it finds that (i) the discovery sought is unreasonably cumulative
or can be obtained from a source that is more convenient, (ii) the party seeking discovery has had
ample opportunity to obtain the information by discovery, or (iii) the proposed discovery is outside
the scope permitted by Rule 26(b)(1). Fed. R. Civ. P. 26(b)(2)(C)(I)-(iii). “In practical terms, a
party seeking leave to ... serve more Interrogatories than are contemplated by the Federal Rules ...
must make a particularized showing of what the discovery is necessary.” Castaneda v. Burger
King Corp., No. C 08-4262 WHA (JL), 2009 WL 4282596, at *1 (N.D. Cal. Nov. 25, 2009)
(quoting Archer Daniels Midland Co. v. Aon Risk Servs., Inc. of Minnesota, 187 F.R.D. 578, 586
(D.Minn.1999)). Accord. Roe v. Frito-Lay, Inc., No. 14-CV-00751-HSG(KAW), 2016 WL
1639774, at *3 (N.D. Cal. Apr. 26, 2016) (“Plaintiff bears the burden to show that the information
she expects to obtain by propounding the additional interrogatories is proportional to the needs of
the case, the parties' relative resources, and other Rule 26(b)(1) factors.”). Plaintiffs have utterly
failed to make such a showing. To the contrary, the additional interrogatories are emblematic of
Plaintiffs’ chronic 11th hour overreach, and only serve to demonstrate why their request should be
denied.

         The Court modestly enlarged the discovery period to permit Plaintiffs to obtain “what more
it is that you need for adjudication of the fair use issue,” 10/4/24 Tr. at 18, yet few of Plaintiffs’
proposed additional interrogatories touch on that topic—let alone any relevant subject matter.
Instead, they seek, by way of example, the identity of employees who communicated with any

14 Plaintiffs suggest that Meta violated the parties’ stipulation of 25 interrogatories per side by

serving identical interrogatories on each Plaintiff individually, but this is nonsensical. Meta could
have served one copy of “common” interrogatories on all Plaintiffs, which would have had the
same effect and carried the same obligations, but chose not to do so to avoid confusion about who
was responding to what. Farnsworth received the same interrogatories as the other 12 Plaintiffs.
If Plaintiffs actually believed this violated the parties’ agreement they presumably would have
mentioned it in the many months since Meta first served discovery on January 9, 2024, but did not.

In addition, Plaintiffs point to Meta’s service of 3 additional interrogatories as somehow justifying
their demand for 23 additional interrogatories, but Meta explicitly indicated that its additional
interrogatories were conditioned on the parties reaching a compromise on additional
interrogatories. If the interrogatory limits are not expanded (and they should not be), Meta does
not expect Plaintiffs to respond to those 3 additional interrogatories.


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third parties concerning training data generally (Rog 25), the identity of individuals who assisted
in discovery (Rog 26), research grants for the development of Llama models (Rog 33), a
description of Meta’s communications with Eleuther AI (Rog 34), the identities of those who had
access to source code (Rog 36), policies for preventing disclosure of confidential information (Rog
37), locations where “Plaintiffs may access current Llama Model versions for inspection and
analysis” (Rog 38), criteria for who receives access to the Llama Models (Rog 39), complaints
received by Meta from other individuals complaining about Meta’s use of the training data at issue
in the complaint (Rog 42), the purpose of Meta’s SRT tool, which is used to solicit and provide
legal advice (Rog 44), the identities of individuals or departments with access to the SRT (Rog
45), identification of any “communications, messages, or data” related to Llama that were entered
into SRT (Rog 46), a description of Meta’s document collection efforts (Rog 47), and a description
of the contents of materials that Meta produced to Plaintiffs and that are in Plaintiffs’ possession
(Rog 48). Among other issues, none of these interrogatories is relevant or satisfies the standards
set forth above for interrogatories in excess of the default number under the Rules. See Khan v.
Payton, No. 20-CV-03086-BLF (PR), 2024 WL 3680715, at *2 (N.D. Cal. July 16, 2024) (denying
request because interrogatories were irrelevant or impermissibly compound).

         Other interrogatories target subject matter that is exclusively the provenance of privilege
(e.g., “Describe any legal review or analysis regarding the use of the Shadow Datasets to train
Llama Models” – Rog 35; “Describe any analysis or assessment undertaken to identify or quantify
potential legal risks associated with using the Shadow Datasets” – Rog 43), or seek information
that is cumulative of Plaintiffs’ document requests or for which Meta has previously represented
that such information does not exist or is not kept in the ordinary course of business (e.g., “Describe
the profits associated with Your distribution, use or provision of the Llama Models, including a
detailed explanation of the calculation of the profits” – Rog 28; “Identify and describe all costs
You incurred in the development, training, and distribution of the Llama Models” – Rog 30; see
also Rogs 27, 29, 31-32). All of these Interrogatories are similarly contrary to Rule 26.

        In short, even if the Court were to entertain Plaintiffs’ untimely request to serve new
discovery, Plaintiffs do not—and cannot—carry their burden to demonstrate why these additional
interrogatories are needed.

                                          Plaintiffs’ Reply

Parts I and II: Plaintiffs appreciate Meta’s willingness to supplement these interrogatories to
moot the issues. However, this appears to be an about-face of Meta’s prior position, and the Court
should enforce Meta’s promised relief.

Part III: Meta argues Plaintiffs “had no arguable authority” to even serve interrogatories
additional to the presumptive 25-interrogatory limit, even though Meta acknowledges it has also
served 28 interrogatories to every Plaintiff without the leave of court they say is required. Further,
contrary to Meta’s contention, Plaintiffs are not “raising the issue” of additional interrogatories
“just 5 weeks before” the end of discovery. Plaintiffs served the interrogatories on October 11,
with over two months to go before the cut-off. Indeed, Plaintiffs had no choice, given the time left
in discovery, but to seek Meta’s “informal agreement” to the excess interrogatories as something
“reasonable parties should do” in a complex case. Protective Optics, 2007 WL 963972, at
*2. Further, Meta’s attempt to prove irrelevance of Plaintiffs’ interrogatory topics demonstrates


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their relevance to fair use and the other obviously essential issue at summary judgment--proving
Plaintiffs’ own infringement claim. Meta’s attempt to case the interrogatories as invasive of
privilege is also unavailing, as Meta admits in this briefing it still has not disclaimed an advice of
counsel defense. Indeed, even if advice of counsel were not at issue, inquiries into Meta’s
identification of legal risks do not invade the privilege. See, e.g., Illumina Inc. v. BGI Genomics
Co., 2021 WL 2662074, at *4 (N.D. Cal. June 29, 2021) (a “businessperson’s statement that the
company needs to assess legal risk as part of its SWOT analysis is not privileged,” and a “slide
deck that mentions potential legal risk twice in passing is not how a company asks for legal
advice”).

                            Defendant’s Response to Plaintiffs’ Reply
Parts I and II: There is no about-face. Meta expressly represented to Plaintiffs in an October 21
email that it would supplement responses to these interrogatories. See Ex. at 5-6 (“Meta intends
to supplement its response to [Rog 15]” and “Meta will supplement its response [to Rog 17] in
the manner requested”). There is simply no excuse for Plaintiffs wasting the parties’ and the
Court’s time litigating issues that were resolved weeks ago.

Part III: Meta acknowledged above that Plaintiffs raised the issue with Meta on October 9.
Nothing but Plaintiffs’ own decision making caused them to (1) serve additional interrogatories
beyond the limit before seeking leave of the Court, (2) reject Meta’s offers of compromise, or (3)
avoid seeking leave prior to the parties’ stipulated deadline to serve additional discovery, as
Plaintiffs indicated they would on October 9. Plaintiffs’ demand to compel Meta to respond to
additional interrogatories that Plaintiffs lacked authority to serve is untimely, and Plaintiffs cite no
legal authority to the contrary.

Plaintiffs likewise fail to offer any justification for the additional interrogatories. They simply
assert that “Meta’s attempt to prove irrelevance [] of the interrogatory topics demonstrates their
relevance” without any explanation. Plaintiffs have the burden of showing that the additional
interrogatories are necessary and comport with Rule 26. Roe, 2016 WL 1639774, at *3. They
cannot meet their burden with conclusory assertions of relevance, which are belied by the subject
matter of the interrogatories. As noted above, most of the interrogatories concern facially
irrelevant subject matter (indeed, much of it is “discovery on discovery”), topics that are
cumulative of other discovery, or that seek to invade privilege.

As to Interrogatory Nos. 35 and 43, Plaintiffs insinuate that there is some ambiguity about whether
Meta will rely on an advice of counsel defense, and that this entitles them to require Meta to
describe “any legal review or analysis” and “any analysis or assessment undertaken to identify or
quantify potential legal risks” concerning use of certain datasets. There is (and has been) no
ambiguity: Meta has represented to Plaintiffs that it is not relying on the advice of counsel defense.
Plaintiffs’ reliance on Illumina is also misplaced. That decision addressed whether a marketing
plan that contained “[a] businessperson’s statement that the company needs to assess legal risk”
was privileged. Illumina, 2021 WL 2662074, at *4. In holding that the document was not
privileged, the court remarked, “[i]mportantly, the document does not contain any such assessment
of legal risk” and did not reflect a solicitation of legal advice. Id. Here, legal “review,” “analysis,”
and “assessments” are precisely what Plaintiffs seek.




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       ISSUE #4: ISSUES INVOLVING CONSTRUCTION OF PLAINTIFFS’ RFPS
                                           Plaintiffs’ Position
I.      The Court Should Order Meta To Produce All Documents Responsive To RFPs
        That Meta Has Narrowly or Otherwise Wrongly Misconstrued.
        Meta refuses to produce documents responsive to several of Plaintiffs’ Requests for
Production (“RFPs”) based on improper distinctions or misinterpretation of the RFPs. See Exs.
__, __ (excerpts of Meta’s responses to RFPs). Those RFPs seek documents relevant to four topics:
(1) Meta’s licensing agreements for training data (RFP Nos. 64 and 77); (2) the mechanisms or
tools by which Meta filters its training data either to identify potential licensors of data or to
exclude (or not) copyrighted data from its training datasets (RFP No. 45); (3) financial records or
financial projections concerning Llama (RFP Nos. 46 and 53); and (4) certain features
programmed into Llama’s source code (Nos. 54 and 59). The scope of each RFP is proper as
written and the Court should order Meta to produce all non-privileged documents responsive to
them.
         RFP No. 64 requests “Documents and Communications sufficient to show each instance
within the last three years where [Meta] ha[s] licensed copyrighted works for Meta’s commercial
use.” A related request, RFP No. 77, seeks communications “concerning any licensing [of]
copyrighted works that were used to train the Meta Language Models.” Meta objects to RFP 64 as
unduly burdensome and not proportional to the needs of the case, and has committed only to
“making a production regarding the licensing of copyrighted textual works for Meta’s use in
training the Meta Language Models.”15 Meta has also narrowly constructed RFP No. 77, asserting
it is unduly burdensome because Meta cannot know which works are copyrighted, and Meta will
therefore search only for “communications concerning Meta’s negotiations of licenses for datasets,
if any, that were used to train the Meta Language Models.” Meta’s construction of both RFPs is
impermissibly narrow. Meta’s stated intent to “mak[e] a production regarding” licensing of the
models in response to No. 64 is insufficient, as Meta is clearly not promising a comprehensive
production sufficient to show to the scope of its licenses. And searching for communications
concerning licensing of copyrighted works should not be restricted to “negotiations” for “datasets,”
where Meta may have communications that never achieved the status of “negotiations” over
licensing and Meta may have licensed copyrighted material that is not in a “dataset.” Further,
Meta has not attempted to show or explain why No. 77 is overly burdensome as to Plaintiffs’ use
of the term “copyrighted works”—to do so, Meta would have to show there is such a high volume
of licenses in general that Meta cannot produce communications concerning all licenses.
      Meta’s limitation in producing only licenses related to “copyrighted textual works,” and its
communications related to “negotiations,” prejudice plaintiffs’ ability to demonstrate and calculate
damages. The Court should require Meta to provide all documents responsive to the RFPs to


15 Meta also attempts, without citation to authority, to cast Plaintiffs’ request for a proper production in

response to RFP No. 64 as untimely. Plaintiffs raised the issue in a deficiency letter to Meta on October 9,
three business days after the Court extended the discovery deadline by 60 days. There is no waiver to
challenging objections to RFPs in general, and especially not under the circumstances here. Even if a
waiver could possibly apply, Plaintiffs issued the related/overlapping RFP No. 77 on August 29, 2024, also
well within the discovery period. There is no prejudice to Meta in requiring responsive to both RFPs on
similar topics.


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provide Plaintiffs sufficient information to compare the nature and value of value of licenses Meta
has paid for with potential licenses Meta could have negotiated in return for the right to copy the
Infringed Works.
        RFP No. 45 requests documents concerning “any licensing, accreditation, or attribution
mechanism, or similar tool for crediting, compensating, or seeking consent from owners of
copyrighted works that were used to train the Meta Language Models.” Meta has refused to
produce responsive documents on the basis that there is no such “tool,” even though Plaintiffs
explained that they are asking for documents related to any process, program, or method by which
Meta sought to filter out copyrighted data from Llama training datasets. Meta has contradicted its
own representation by stating there is a “tool used to visualize data” that, as Meta has explained it
to Plaintiffs, helps Meta programmers accomplish the filtering Plaintiffs’ request contemplates. In
response, Plaintiffs offered as a compromise that Meta screenshot the “tool used to visualize data”
that Meta described, but Meta still refused to do that. The methods, processes, or “tools” by which
Meta identified and filtered (or did not filter) copyrighted data from datasets is clearly relevant to
Plaintiffs’ infringement claim, and Meta should be ordered to produce all documents responsive
to RFP No. 45.
        RFP Nos. 46 and 53 request “Documents and Communications sufficient to show [Meta’s]
actual or projected income from the sale or licensing of the Meta Language Models,” and
“Documents and Communications Concerning any income statement, balance sheet, or statement
of cash flows, Concerning any of the Meta Language Models.” Meta has produced, in total, only
one document relevant to financial projections for Llama and a minimal set of other documents
related to a budget for licensing costs and income from licensing Llama, despite the fact that the
company has invested billions in AI technology. In the parties’ meet and confer on October 16,
Meta confirmed there were “financial-related documents” in its possession that it had withheld,
but Meta will delay producing those documents in response to the set of RFPs Plaintiffs served on
October 9, 2024. See Ex. C. Meta has not confirmed it provided all documents responsive to the
RFP Nos. 46 and 53, which Plaintiffs served in February and March 2024. The Court should order
Meta to fulfill its obligations to search for and produce all documents responsive to Nos. 46 and
53 immediately, not on Meta’s chosen, dilatory timeline.

        Finally, RFP Nos. 54 and 59 request documents concerning, respectively, “any decision
by [Meta] to not develop an interface for end users to interact with any of the Meta Language
Models” and “the ability of any Meta Language Model to output fictional works.” Meta objects
to even searching for documents responsive to these requests about key features of Llama based
on pure sophistry. Meta objects that Meta cannot search (and thus has not searched) for documents
responsive to RFP No. 54 because Meta ultimately has decided to develop a Llama interface for
end users. In the October 16 meet and confer, Plaintiffs pointed out that an ultimate decision to
include a user interface does not mean there were not previous internal decisions not to include
one as successive versions of Llama have been developed or released. Meta’s decision-making
about how Meta users or the public at large would interact with Llama is clearly relevant to
Plaintiffs’ claim for infringement. Similarly, Meta has objected to No. 59 on the ground that the
term “fictional works” is unclear. Plaintiffs have explained that “fictional” has its traditional,
dictionary-defined meaning, and “works” refers to copyrighted works. The terminology is not
vague or unclear, and certainly not so vague or unclear as to justify Meta’s failure to initiate a
search. The Court should require Meta to search for and produce documents responsive to both
RFPs.


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II.     Meta Has Applied an Overly Restrictive Relevant Time Period to its Discovery
        Responses.
        In its responses and objections to all of Plaintiffs’ RFPs (and its productions), Meta
unilaterally and improperly limited the relevant period to January 1, 2022, to the present. As an
attempted explanation, Meta’s attorneys told Plaintiffs during their October 16 meet and confer
that work on Llama started no earlier than 2022. Meta’s artificial limitation on its searches is
inappropriate not only because the proposed class period begins on July 7, 2020 (three years before
Plaintiffs first filed their Complaint), but because any time at which Meta copied—or discussed
copying— copyrighted material that was eventually used to train Llama is relevant to Plaintiffs’
claim. Such copying or discussions may have occurred before 2022 even if development of Llama
did not start until that year. Further, Meta has provided Plaintiffs no proof aside from counsel’s
naked assertion that 2022 was the year development started. If there are no responsive documents
in earlier periods, then there is de minimis burden in simply running searches for any responsive
documents.
        The Court should require Meta to run searches (and produce documents from) as far back
as necessary to capture all instances in which Meta copied—or discussed copying—copyrighted
data that was used to train Llama, or, at a minimum, as far back as the beginning of the class period.

                                       Defendants’ Position
       Plaintiffs’ complaints about Meta’s RFP responses are either meritless or moot. Plaintiffs’
requested relief should be denied.
RFP No. 64. This Request, to which Meta responded on April 20, 2024, seeks “Documents and
Communications sufficient to show each instance within the last three years where You have
licensed copyrighted works for Meta’s commercial use.” Plaintiffs raised no issue with Meta’s
response to this Request for over five months, and thus Plaintiffs’ complaints come too late. In
any event, Meta has already told Plaintiffs that it will be producing documents regarding the
licensing of copyrighted textual works for Meta’s use in training the Meta Language Models (i.e.
the Llama models at issue in this case) in response to RFPs served more recently by Plaintiffs.
Meta’s forthcoming production reflects the scope of potentially relevant materials in this case, and
Plaintiffs’ request should be denied.
RFP No. 64 is unreasonably overbroad, as it would require Meta to turn the company upside down
and identify every single instance within the last three years where Meta has licensed any
copyrighted work, of any type and for any commercial purpose. Setting aside Meta’s Language
Models,Meta’s business involves a broad range of business interests that might license copyrighted
material far outside the scope of this case. For example, if Meta licensed a song to use in an
advertisement for the Meta Quest VR device or if it used code for an Instagram update under an
open source license, that would arguably be responsive, yet would have no bearing on any issues
in this case, e.g., whether Meta training its Llama models on allegedly copyrighted material is fair
use. Proving the overbreadth of Plaintiffs’ request, during the October 16 meet and confer, Meta
asked Plaintiffs whether they are seeking within this request documents concerning, for example,
Meta’s licensing of a CLE video for presentation to its legal team. Plaintiffs said yes. Plaintiffs
provide no explanation for how licenses for songs in commercials, open source source code, or
CLE videos would bear on damages or any other issue in this case. Thus, this request as written is
unduly burdensome and wildly disproportionate to the needs of the case, would require Meta to


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canvass its entire business to root out every license of a copyrighted work for any purpose–an
impractical, if not impossible task, and one with no identifiable utility to Plaintiffs. The lone claim
in this case is about whether training an AI model using datasets that allegedly contain Plaintiffs’
books is copyright infringement and if so, whether it is a fair use. There is no proportionality
between this claim and the incredibly broad reach of and irrelevant materials sought by this RFP.
Plaintiffs’ motion on RFP No. 64 should be denied.


RFP No. 77. This Request asks for “Communications Concerning any licensing copyrighted
works that were used to train the Meta Language Models.” To the extent there is a plain reading
of this grammatically unsound Request, it refers to communications concerning actual “licensing”
of copyrighted works that “were used” to train the Llama models. With respect to copyrighted
textual works (which are the subject of Plaintiffs’ claims), no such licenses exist and thus there
was nothing to produce. Accordingly, the motion to compel must be denied.
To the extent that Plaintiffs now seek to rewrite this Request to encompass communications
concerning prospective licenses or communications concerning material that may have been
contemplated for use but “were [not] used” to train the models, that is not what this Request seeks.
Meta notes that Plaintiffs’ new RFP No. 130 covers prospective licenses and, subject to Meta’s
forthcoming objections and responses, responsive material is in the process of being reviewed and
produced in response to that RFP No. 130.


RFP No. 45. This request, to which Meta responded on February 23, 2024, seeks “All Documents
and Communications Concerning any licensing, accreditation, or attribution mechanism, or similar
tool for crediting, compensating, or seeking consent from owners of copyrighted works that were
used to train the Meta Language Models.” Meta has consistently told Plaintiffs that Meta has not
developed any such mechanisms or tools. Plaintiffs misrepresent to the Court that “as Meta has
explained it to Plaintiffs, [the visualization tool] helps Meta programmers accomplish the filtering
the request contemplates.” Meta made no such statement and tellingly none is cited. Because
there is nothing to produce in response to this request, the motion to compel must be denied.


RFP Nos. 46 and 53. As to these Requests, Plaintiffs once again misrepresent Meta’s statements
during the parties’ October 16 meet and confer. Meta never “confirmed there were ‘financial-
related’ documents in its possession that it had withheld” that were responsive to these Requests.
Meta is not withholding responsive documents for these two RFPs. Plaintiffs served a number of
additional RFPs (not at issue here) on other financial related documents and Meta will be
producing documents in response to those requests in due course. Plaintiffs requested relief should
be denied.


RFP No. 54. This Request, which Meta responded to on April 20, 2024, seeks “All Documents
and Communications Concerning any decision by You to not develop an interface for end users to
interact with any of the Meta Language Models.” This request presupposes that there was a
decision by Meta not to do something (i.e., not releasing a user interface for Meta’s LLMs), but in
fact Meta did do something (i.e., released a user interface for Meta’s LLMs). Setting aside the fact



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that there cannot be responsive documents to the request as it is written, the requested documents
(if any existed) would have no bearing on any issue in dispute and Plaintiffs have not demonstrated
any. Instead, Plaintiffs try to rewrite the request to cover “decision making about how Meta users
or the public at large would interact with Llama” and claim without explanation that would be
“clearly relevant.” Plaintiffs cannot rewrite their RFP seven months later. Plaintiffs’ requested
relief should be denied.


RFP No. 59. This Request, which Meta responded to on April 20, 2024, seeks “Documents and
Communications Concerning the ability of any Meta Language Model to output fictional works.”
It is unclear what this vague Request seeks, and as construed by Plaintiffs this Request would be
overbroad and unduly burdensome for Meta to comply with. In its broadest sense, anything that is
not entirely true or factual is in some sense “fictional.” Thus, if read with that understanding,
Plaintiffs are seeking all documents and communications concerning the ability of the Llama
models to produce outputs that are not factual or are untrue–subject matter that ranges from the
propensity of LLMs to hallucinate (i.e., provide false information), to their ability to write stories
or poems, none of which has any bearing on the issues in dispute here. Plaintiffs provide no
limiting principle for this request. Plaintiffs’ requested relief should be denied.


Time Period for Discovery Responses. Meta has consistently represented since its initial
discovery responses over eight months ago that it would be collecting discovery responsive to
Plaintiffs’ discovery requests based on a time period from January 1, 2022 to the present. See, e.g,
February 23, 2024 Responses to Plaintiffs’ First Set of Requests for Production. Ex. . Meta did
not begin development of the Llama large language models at issue in this case until the Fall of
2022, but nonetheless Meta took the expansive approach of producing documents going back to
the beginning of 2022. Plaintiffs raised no concerns about Meta’s time frame for eight months,
only to suddenly demand in October (after the original fact discovery period would have closed)
that Meta should be collecting discovery for a three year period prior to the complaint—a time
period that was not even specified in Plaintiffs’ discovery requests. See, e.g., December 27, 2023
Plaintiffs’ First Set of Requests for Production, Ex. (“‘Relevant Period’ includes and encompasses
all times relevant to the acts and failures to act which are relevant to the Complaint.”)
As the Court admonished Plaintiffs last week, Plaintiffs should have raised any concerns about
“date ranges . . a long time ago.” ECF No. 252 at 2. To change the date range for document
collection and production now would require Meta “redo” of all of Meta’s document collection
and production to date, including recollecting, ingesting into its discovery systems, and searching
for documents in this expanded date range, which would take more time and resources in the short
time period remaining in discovery. Plaintiffs’ untimely and unnecessary request should be denied.




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                                           Plaintiffs’ Reply
         Meta refuses to comply with RFPs that encompass executed and prospective licenses for
training data (see RFP Nos. 45, 64, 77). Meta generally says that it will “get to it later” in the
context of RFP No. 130. But executed licenses for training data are responsive to RFP Nos. 64 and
77. Regarding RFP No. 77, Meta limits the scope of the request to licenses for textual works, but
this is improper: licenses for other types of work would allow Plaintiffs’ experts to evaluate the
value of, and market for, training data, generally. Those datapoints may be especially helpful for
expert analysis given the marketplace for training data is largely in its infancy.
        Regarding RFP No. 45, Meta created a
                                                                                        This is plainly a
“tool for . . . seeking consent from” copyright owners. Meta refuses to produce communications
to the different content owners, even though those outreach efforts were documented within the
tracker. The communications noted in the tracker clearly “Concern[]” that tool. Regarding RFP
No. 59, Meta argues vagueness but admits it understands the scope of the request. The model’s
ability to write fictional stories is plainly relevant to factor four of the fair use analysis, as it goes
to substitution in the marketplace for the copyrighted work.
         Regarding date ranges, Meta embellishes the extent of its burden. No “re-do” is
necessary—Meta never even searched for any documents that pre-date January 1, 2022 in the first
place. Plaintiffs simply ask the Court to order Meta to confirm through discovery that responsive
documents do not exist prior to January 1, 2022. Indeed, Meta/Facebook has been involved in the
artificial intelligence race for a decade: https://www.fastcompany.com/3060570/facebooks-
formula-for-winning-at-ai (June 2016 article discussing efforts related to AI and machine learning
at Facebook and stating that AI “has become a vital part of scaling Facebook”).


                            Defendant’s Response to Plaintiffs’ Reply
Regarding RFPs 45, 64, and 77, Plaintiffs cannot rewrite their requests for production to cover
documents they wish they had more specifically asked for. Plaintiffs do not even attempt to defend
their request for all licenses for copyrighted work in any business context at Meta in the past three
years, because they cannot defend the overbreadth of their original request. On RFP 77, this case
is about textual training data, not licensing of video, audio or other forms of data that might be
used for training. The Court has already addressed Plaintiffs’ demands for non-textual training
data when it agreed with Meta’s narrowing of 30(b)(6) Topic No. 8 in a discovery order last week.
ECF No. 252 at 3.
Regarding RFP No. 45, Plaintiffs’ response is to call a single document that Meta produced a
“tool.”

Plaintiffs identify nothing else that they claim is missing in response to RFP No. 45. Regarding
RFP No. 59, Meta’s argument illustrated the overbreadth and disproportionality of the potential
scope of the request (which Plaintiff has never clearly defined). Plaintiffs for the first time raise
“substitution in the marketplace”, but have not developed any alleged connection to the fair use
analysis. Finally on date ranges, Plaintiffs do not contest that they sat on Meta’s consistent
statements that Meta was objecting to documents that predated January 1, 2022 because the Llama
models were not even in development until much later in 2022. If Plaintiffs believed they needed


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a broader date range, Plaintiffs should have raised any concerns about “date ranges . . a long time
ago.” ECF No. 252 at 2.




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                    ISSUE #5: SOURCE CODE AND TRAINING DATA
                                       Plaintiffs’ Position
        One of the central issues in this case is the mechanism by which Meta trains its Llama
models. No party disputes the relevance of this information. However, despite many attempts at
remedial measures with Meta, certain components of this technical data—namely, the source code
and the training data repositories—remain inadequately produced. Plaintiffs request an order
requiring Meta to remedy the below issues.
I.      Meta Must Provide Additional Llama Source Code.
        Meta’s production of Llama source code remains deficient notwithstanding Plaintiffs’
repeated attempts to resolve this issue informally with Meta. For one, Meta still has not produced
certain source code repositories, which Plaintiffs identified on October 4, 2024. These include: (1)
Mitigation code (source code related to how Meta trains its models to identify copyrighted material
to prevent its models from regurgitating that material); (2) Production code (code that customers
actually use); and (3) Application code (code comprising a runnable computer program or system,
including interface code and system infrastructure code). See, e.g, Dkt No. 206, Declaration of
Jonathan Krein, at ¶¶ 6, 17.
        Plaintiffs have strong reason to believe the missing code repositories exist, and that Meta
just refuses to produce them. For example, Meta admits that it has developed “mitigations that tell
the model not to respond to certain types of question.” Chaya Nayak Dep. Tr. at 298:1-5. Yet, it
has not produced any Mitigation code repositories. And, according to Plaintiffs’ technical expert,
“for the meta.ai. website to function, there must be APIs that facilitate access between the user
interface and the production llama model(s) supporting the functionality available at that site.”
Krein Decl., Dkt. No. 206, ¶ 17. To date, Meta has not produced any Program code or Application
code which would be required to support these core functionalities of Meta’s products.
       Further, based on Dr. Krein’s additional review of the Llama source code since October 4,
he has identified with additional specificity the categories of missing source code materials that
Meta must make available. Dr. Krein lists these missing materials with specificity in his
accompanying declaration. Ex. D.
         Secondly, Meta refuses to produce the source code that integrates the Llama model with
Meta’s other offerings, a key initiative in Meta’s efforts to commercialize its LLMs. See
Meta_Kadrey_00046433 (“. . . with Gen AI, we will supercharge our existing product offerings
across Meta . . .”); Chaya Nayak Dep. Tr. at 289 (interpreting Meta_Kadrey_00046433 to mean
“we intend to integrate generative AI into our existing offerings like Facebook.”). Plaintiffs have
served a request for production that would encompass this source code, but Meta refuses to make
it available for inspection.
       Meta should be ordered to produce or make available the aforementioned missing source
code, as detailed in Dr. Krein’s declaration.
II.    Plaintiffs Are Entitled to More Fulsome Information About Llama’s Training Data.
       Plaintiffs have been seeking information about: (a) the training data for Llama models 1-3
(RFP Nos. 1-3); (b) documents and communications to/with/from a pirated books dataset called
“LibGen” (RFP No. 7); and (c) a detailed description of all the data Meta has used to “train or
otherwise develop” its Large Language Models (LLMs) (Interrogatory No. 1) (emphasis added).



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The first Interrogatory sought information about, for example, how Meta obtained such data, and
how much of it was used.
          This is among the most relevant discovery in the case. The core claim is that each Plaintiff,
and writers at large, were harmed when Meta stole – via scraping or downloading – copyright
protected materials, including from known pirated sources, and used those materials precisely for
their expressive value in ‘training’ or otherwise fine-tuning or operationalizing its models for use
in Meta’s suite of commercial products. To be sure, the parties have negotiated, and Plaintiffs
have been able to obtain, important discovery in the data category. Were the only issue in this
case the important binary question of whether Plaintiffs’ copyrighted materials were in Meta’s
possession at a high level, the Court would have the answer from the data already produced. But
it is also important that Plaintiffs be permitted discovery that goes to the importance of and breadth
of use of the copyright protected material at issue, and that permits reasonable identification of the
specific copyright protected materials used. 16 This ‘in situ’ understanding and information relates
to infringement, the fair use defense (for example, to the factors of the purpose of use, and the
amount used), willfulness, and even ascertainability.
        For these reasons, Plaintiffs do not believe it is enough for them to have access to the set
of training data for Llamas 1-3, and submit they are entitled to information from Meta that
identifies the iterations of copies of training data with copyrighted material or books within their
possession, custody or control. Plaintiffs seek information on how many times Meta downloaded
each copyrighted work, from where it downloaded each, when it downloaded each, and how it is
using each copy.
        Meta has not disputed that there are multiple locations that have iterations of training data,
but raises a burden concern in light of its production of a set of training data for Llamas 1-3. To
avoid any burden, Plaintiffs propose that Meta either (a) provide a declaration with this information
(which Plaintiffs have proposed in the past) or (b) supplement Interrogatory 1 to provide this
information.
        Plaintiffs also had been amenable to receiving actual copies of data, but to narrow issues,
to not dispute Meta’s burden concern (while noting that the fact of burden suggests how important
these materials are). Plaintiffs should be able to obtain relevant information about how copyright
protected books are used by Meta, and a proxy set of information would involve discovery into
the sources that contain the books.
                                          Defendants’ Position

       Source Code. The Court should reject all of Plaintiffs' requested relief with respect to
source code because it does not pertain to “existing written discovery.” Dkt. No. 253. First, there
are no existing–as opposed to new–RFPs served by Plaintiffs seeking source code. Second, and




16 It is important to underscore that a books dataset may keep appearing and disappearing on places on the

web or dark web, and to the extent Meta continues to pull updated information, this is relevant. It may not
be possible for Plaintiffs to have a second-by-second update, and Plaintiffs are not seeking duplicate copies
of static materials, but instead information about the various ways and locations Meta is using books
corpuses or books that on which Meta’s LLMs have been trained.


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Krein has any particular expertise in LLMs or if he or Plaintiffs actually understand the issues on
which Plaintiffs are prematurely seeking relief. Plaintiffs claim for example that Meta did not
produce “mitigations,” but mitigations are a form of post-training or fine-tuning in which certain
data is used to teach the model to respond in certain ways. Post-training and fine-tuning code was
included in the above-mentioned
                                                                       Meta is willing to work with
Plaintiffs to ascertain with more specificity what they may be seeking beyond the post-training
and fine-tuning code that was produced more than six months ago, and supplemented within the
past month at Plaintiffs’ request, but these issues should not be raised for the first time in a letter
brief filed with the Court.

        Nevertheless, to the extent the Court is inclined to rule on Plaintiffs’ vague and
prematurely-raised requests, the Court should reject them as not relevant and proportional to the
needs of the case. The case alleges a single claim for copyright infringement based on allegations
that Meta downloaded and used the Plaintiffs’ copyrighted books as inputs to train the Llama
models. Plaintiffs claim that, during the training process, the text of their works was ingested and
thus copied to train the Llama models. (Dkt. 133, ¶¶ 28-29, 63.) Once the model is trained, it can
produce natural language output responses in response to user requests. (Id.) But notably, the
Court dismissed Plaintiffs’ claims relating to the output of the Llama models. (Dkt. 56, at 1-3.)
Thus, what happens after the Llama models are trained, i.e., after the alleged acts of infringement
have taken place, has no bearing on issues in this case. Plaintiffs thus do not explain how their
requests for “production” or “application” code, which appear to pertain to source code for
incorporating already-trained Llama models into other Meta products such as Facebook and
Instagram, or “mitigations” that take place after the accused Llama training process occurs, are
relevant or proportional to the needs of the case. The requests for production and application code,
moreover, potentially implicate an enormous amount of source code that will be burdensome to
collect and make available for inspection, while offering nothing probative on the sole remaining
copyright claim relating to training using Plaintiffs’ works.

        Training Datasets. Plaintiffs’ amorphous request for “more fulsome information” about
training data should be denied. As the Court is aware, Plaintiffs are authors of various books who
allege that their books were part of a dataset (commonly known in the AI research community
known as “Books3”), which they allege was used as training data for Meta's Llama models. Meta
produced that dataset in May 2024, and then supplemented its production to include further
datasets that Plaintiffs claimed include additional books; Meta will continue to do so in the event
new books-related datasets are used. In response to Plaintiffs’ Interrogatory No. 1, Meta also
provided a detailed supplemental response identifying approximately 70 datasets in addition to
Books3, and for each dataset, the Llama model(s) with which it was used, the locations where
Meta believes they were obtained, and a detailed explanation of the various considerations that go
into Meta's selection and use of datasets. (Ex. 6 at 8:7-12:6.) Meta has complied with its discovery
obligations with respect to datasets. Even Plaintiffs acknowledge above that they have obtained
“important discovery in the data category.”

        Plaintiffs nonetheless demand that Meta should be required to “identif[y] the iterations of
copies of training data with copyrighted material or books within their possession, custody or
control.” This request is overbroad, unreasonable and not proportional to the needs of the case for
several reasons. First, Plaintiffs’ request for “copyrighted material” appears to cover non-textual


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training datasets such as digital images, music, and other non-book and non-text data not at issue
in the case, a scope of discovery the Court already rejected when agreeing with Meta’s compromise
scope for 30(b)(6) topic no. 8. ECF No. 252 at 3. Second, there is no basis for Plaintiffs to demand
that Meta produce multiple “iterations” and “copies” of training data. Meta has identified and
produced copies of the actual book-related training datasets that allegedly include copyrighted
works that were actually used to train the Llama models. Plaintiffs’ request that Meta scour the
entire company to determine if there are other stored and duplicative copies of those datasets –
copies which would not have been the ones used to train Llama – is overly burdensome and not
proportional to the needs of the case. Even on the issue of statutory damages – the only category
of damages Plaintiffs could plausibly seek in this putative class action – Plaintiffs are entitled only
to a single statutory damages under the Copyright Act for each work, regardless of the number of
alleged infringements. 17 U.S.C. § 504(c)(1) (authorizing “an award of statutory damages for all
infringements involved in the action, with respect to any one work, for which any one infringer is
liable individually…”) (emphasis added); see also Louis Vuitton Malletier, S.A. v. Akanoc
Solutions, Inc., 658 F.3d 936, 946 (9th Cir. 2011) (“With respect to copyright, ‘when statutory
damages are assessed against one defendant… each work infringed may form the basis of only one
award, regardless of the number of separate infringements of that work.’”) (citation omitted;
emphasis added). The existence or number of duplicate and redundant copies of datasets, which
were not used to train Llama, is not relevant to the issues in this case. Third, these datasets can be
enormous in size, in some cases spanning multiple terabytes per dataset, which would place
enormous burden on Meta disproportionate to the needs of the case to collect and produce multiple
copies of datasets.

        Finally, with respect to RFP No. 7, Meta is unaware of communications between Meta and
a third-party website. To the extent Plaintiffs suggest that this RFP covers copies at Meta of
datasets relating in some manner to this website, Plaintiffs are ignoring the plain language of the
RFP.
                                         Plaintiffs’ Reply
        On source code, whether Llama outputs copyrighted books in response to end users’
requests is plainly relevant to Plaintiffs’ “input” claims. First, Llama can only output copyrighted
books if it has been trained on those copyrighted books. Thus, evidence of Llama’s ability to output
copyrighted material, and Meta’s efforts to mitigate these infringing outputs, go straight to the
merits of this case. Second, this evidence is relevant to Plaintiffs’ claims that Meta does not just
create datasets of copyrighted material for use as training data, but also that the model, itself, stores
copies of this copyrighted material within it. Meta is also incorrect that its production and
application code is irrelevant because there are no “output” claims in this case. This source code
shows how Meta’s entire generative AI program is a commercial endeavor—and the question of
commerciality is obviously a critical inquiry under fair use. Plaintiffs are willing to engage in an
ongoing discussion with Meta regarding the provided source code. In light of the “raise it or waive
it” approach that Meta has taken in recent weeks, Plaintiffs needed to memorialize the ongoing
issues with Meta’s datasets, along with reserving rights if the issues persist.
        On training data, Meta’s responses ignore the specific points Plaintiffs made. Plaintiffs are
not seeking information about videos or copyrighted materials that may have been used to train
diffusion models, but instead information about how books were used in LLM training and
operationalization, and how in turn the LLMs or book corpuses are used by Meta. Meta effectively
concedes the relevance of this information for liability purposes, but argues that because copyright


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damages are by work versus by copy, the information is irrelevant. This is incorrect. Plaintiffs
are entitled to discover the range of copyright protected books that Meta ingested, including from
sources that may be updated or that are in patterns of being taken down from the web. With
reference to statutory damages, discovery on bad faith and willfulness is unquestionably relevant
to where in the range of statutory damages Meta’s conduct lies. Further, while Meta asserts
potential burden in providing the sought information, Plaintiffs are not even seeking each copy of
the books made, but rather a declaration or interrogatory answer with this information.
                           Defendant’s Response to Plaintiffs’ Reply
        With respect to source code, Plaintiffs’ reply arguments do not cite a single RFP that seeks
Meta’s source code–all but conceding that their arguments are not part of the “existing written
discovery” to which the present motion is limited. Plaintiffs claim above that “Llama’s ability to
output copyrighted material” is relevant but they ignore the indisputable fact that Judge Chhabria
almost a year ago dismissed their claims based on output of the Llama model. (Dkt. 56, at 1-3.)
Plaintiffs further claim above that “the [Llama] model, itself, stores copies of this copyrighted
material within it,” but Judge Chhabria also dismissed this claim as “nonsensical” because “[t]here
is no way to understand the LLaMA models themselves as a recasting or adaptation of any of the
plaintiffs’ books.” (Id., at 1.) Because Plaintiffs have no good faith argument that their lone
surviving copyright claim embraces output of the Llama models, their request for discovery on
that topic should be denied. Plaintiffs also do not explain how source code has any probative value
on the alleged “commerciality” of Llama. Meta’s internal and highly technical source code is not
probative on issues relating to commercialization of Llama.
        With respect to training data, Meta appreciates that Plaintiffs have now clarified that they
are not seeking discovery on non-book/non-text training data, despite the broader language of their
earlier demands. Plaintiffs claim above to be seeking “information about how books were used in
LLM training and operationalization, and how in turn the LLMs or book corpuses are used by
Meta,” but that is exactly what Meta has provided by producing the training datasets that allegedly
contain all of Plaintiffs’ books and that were actually used to train the accused Llama LLMs. Meta
should not be ordered to scour its internal server infrastructure to locate and identify additional
copies of training datasets which, even if they were to exist somewhere, were not the ones used
for Llama training. Plaintiffs’ unexplained assertion that they are relevant to “bad faith and
willfulness” does not justify the substantial burden that would be imposed by the requested relief,
sought by Plaintiffs for the first time near the end of fact discovery.




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